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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION
UNITED STATES OF AMERICA
Vv. Case No. 3:20-cr-86-TJC-JBT

AARON DURALL

VERDICT

1. With regard to Count One of the Indictment, which charges
Conspiracy to Commit Health Care Fraud and Wire Fraud, we, the Jury, find
AARON DURALL:

NOT GUILTY VO GUILTY

If you found AARON DURALL not guilty of Count One, skip the next
question and proceed to consider Count Two below.

If you found AARON DURALL guilty of Count One, answer this
question: We, the Jury, unanimously find the following to be the Object of the
Conspiracy (choose one):

_____ Health Care Fraud
____ Wire Fraud

Both Health Care Fraud and Wire Fraud
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2. With regard to Count Two of the Indictment, which charges Health
Care Fraud, we, the Jury, find AARON DURALL:

NOT GUILTY GUILTY

3. With regard to Count Three of the Indictment, which charges

Health Care Fraud, we, the Jury, find AARON DURALL:

NOT GUILTY _\/ GUILTY

4. With regard to Count Four of the Indictment, which charges

Health Care Fraud, we, the Jury, find AARON DURALL:

NOT GUILTY \/ GUILTY

5. With regard to Count Five of the Indictment, which charges Health

Care Fraud, we, the Jury, find AARON DURALL:

NOT GUILTY _, /. GUILTY

6. With regard to Count Six of the Indictment, which charges Health
Care Fraud, we, the Jury, find AARON DURALL:

NOT GUILTY \/ GUILTY
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7, With regard to Count Seven of the Indictment, which charges

Conspiracy to Commit Money Laundering, we, the Jury, find AARON

DURALL:
NOT GUILTY GUILTY

If you found AARON DURALL not guilty of Count Seven, skip the next
question and proceed to consider Count Nine below.

If you found AARON DURALL guilty of Count Seven, answer this
question: We, the Jury, unanimously find the following to be the Object of the

Conspiracy (choose one):

Promotional Money Laundering (18 U.S.C. §
1956(a)(1)(A)@))

Monetary Transaction Money Laundering (18 U.S.C. §
1957)

Both Promotional Money Laundering and Monetary
Transaction Money Laundering

8. With regard to Count Nine of the Indictment, which charges
Money Laundering, we, the Jury, find AARON DURALL:

NOT GUILTY GUILTY
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9. With regard to Count Ten of the Indictment, which charges Money
Laundering, we, the Jury, find AARON DURALL:

NOT GUILTY GUILTY

10. With regard to Count Twenty-Three of the Indictment, which

charges Money Laundering, we, the Jury, find AARON DURALL:

    

NOT GUILTY GUILTY
SO SAY WE ALL,
04: 2\: 2023
FOREPERSON’S SIGNATUR DATE
